    Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 1 of 68 Page ID #:6720


   From:                          Rami Ghanem <ramithe@gmail.com>
   Sent:                          Tuesday, May 5, 2015 3:42 PM
   To:                            gerton.businessllp@gmail.com
   Subject:                       Invoice
   Attach:                        Inv-Tasko64.pdf; Inv-Tasko 65.pdf; Inv-Tasko 66.pdf




   &m.WIIJJ ~" BJIJJ/#•                                           /G'TB/
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   Telephone# 00201127999552
   lternational #: +37282432246
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe@gma.ii.com. or rnmi{p1caravaname.com
   US Telephone: 772 675-4363 S!--ype Address: ~.l:U."!Y.~1.rnm.~

     The information <ontained i1 this mess.age is for the intended addressee only and m~y coritam confident~ ! a no/or privileged iQformation. tf you are not the intended acdressee, this messate wil self destruct so
    notify the sender; do not copy or distribute this message or disclose its contents to anyone. Any views or cp1nions expressed in this message are those of the author and do not necessarily represent ttose of CME or
    of any cf its a:60Chted :om pan ic~. No rcliarcc m1y be pSaccd onthb m~~,c without wrt.tcn confirm.iUon from an authe>rizcd rcp·cscnt.itlvc of the comp.iny.




                          Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                              Before you speak »Listen
                                                                              Before you write »Think
                                                                               Before you spend »Earn
                                                                              Before you pray »Forgive
                                                                                Before you hurt »Feel
                                                                                Before you hate »Love
                                                                                 Before you quit »Try
                                                                                 Before you die >>Live

                                                                                                That's Life ...




00082018.pdf                                                                                                                                                                              Ghanem 00000241
                                                                              Ghanem_Sentencing_00001300
  Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 2 of 68 Page ID #:6721




        TASKOMANAGEMENTLTD

        Address:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize




                                                               INVOICE#64
 Data:May5th,2015

 GatewaytoMENAforlogisticServices
 Address:43AbdulHamidSharafSt.P.O.Box950601Amman11195Jordan


Description                                             Q-ty        Prise             Amount
*HQHUDWRUV\VWHP.:
blade                                               3           2520 USD        7560 USD
generator                                           3           2850 USD        8550 USD
Yaw shaft                                           3           2800 USD        8400 USD

Dumping Load                                        5           2130 USD        10650 USD
Off grid Rectifier / Dumping Controller             8           2655 USD        21240 USD
Siemens PLC Controller                              7           5240 USD        36680 USD
Off grid Inverter (Single-phase)                    18          1560 USD        28080 USD
Guyed tower(12m)                                    6           3420 USD        20520 USD
Free Standing Tower(12m)                            9           2755 USD        24795 USD
with Guyed Tower                                   10           1580 USD        15800 USD
with Free Standing Tower                           11           1710 USD        18810 USD

Total:  Payment for building materials/equipment acc contr11/15 dd
                                                                                   201 085 USD
02.02.15

   Beneficiaryname:TASKOMANAGEMENTLTD
   BeneficiaryRegNo:114,298
   Beneficiary’saddress:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize
   Beneficiary’saccount:LV91LAPB0000056056113
   Beneficiary’sBank:ASLATVIJASPASTABANKA
   Beneficiary’sBank'saddress::Brivibasstr.54,Riga,LVͲ1011,Latvia
   Beneficiary’sbankSWIFT:LAPBLV2X

   Correspondencebank:BankofGeorgia
   Correspondencebankaddress:Tbilisi,Georgia
   Correspondenceaccount:GE98BG0000000881562400
   CorrespondenceSWIFT:BAGAGE22




  000820                                                                                                     Ghanem_00000241
                                                 Ghanem_Sentencing_00001301
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 3 of 68 Page ID #:6722




             TASKOMANAGEMENTLTD

             Address:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize




                                                                                                                      

                     


                                                                    INVOICE#65
     Data:May5th,2015

     GatewaytoMENAforlogisticServices
     Address:43AbdulHamidSharafSt.P.O.Box950601Amman11195Jordan
     
                                                                                                             
    Description                                              Q-ty        Prise             Amount            
    *HQHUDWRUV\VWHP.:                                                                                 
    blade                                                8           2520 USD        20160 USD               
    generator                                            8           2850 USD        22800 USD               
    Yaw shaft                                            8           2800 USD        22400 USD               
                                                                                                             
    Dumping Load                                         13          2130 USD        27690 USD               
     Off grid Rectifier / Dumping Controller             11          2655 USD        29205 USD               
     Siemens PLC Controller                              9           5240 USD        47160 USD               
     Off grid Inverter (Single-phase)                    19          1560 USD        29640 USD               
                                                         14          3420 USD        47880 USD               
     Guyed tower(12m)
                                                                                                             
     Free Standing Tower(12m)                            9           2755 USD        24795 USD
                                                                                                             
     with Guyed Tower                                   10           1580 USD        15800 USD               
     with Free Standing Tower                           11           1710 USD        18810 USD               
                                                                                                             
    Total:  Payment for building materials/equipment acc contr11/15 dd                                       
                                                                                        306 340 USD
    02.02.15                                                                                                 
                                                                                                             
        Beneficiaryname:TASKOMANAGEMENTLTD
        BeneficiaryRegNo:114,298
        Beneficiary’saddress:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize
        Beneficiary’saccount:LV91LAPB0000056056113
        Beneficiary’sBank:ASLATVIJASPASTABANKA
        Beneficiary’sBank'saddress::Brivibasstr.54,Riga,LVͲ1011,Latvia
        Beneficiary’sbankSWIFT:LAPBLV2X                         
        
        Correspondencebank:BankofGeorgia
        Correspondencebankaddress:Tbilisi,Georgia
        Correspondenceaccount:GE98BG0000000881562400
        CorrespondenceSWIFT:BAGAGE22




00082020                                                                                                Ghanem_00000241
                                               Ghanem_Sentencing_00001302
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 4 of 68 Page ID #:6723




             TASKOMANAGEMENTLTD

             Address:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize




                                                                                                                      

                     


                                                                    INVOICE#66
     Data:May5th,2015

     GatewaytoMENAforlogisticServices
     Address:43AbdulHamidSharafSt.P.O.Box950601Amman11195Jordan
     
                                                                                                             
    Description                                              Q-ty        Prise             Amount            
    *HQHUDWRUV\VWHP.:                                                                                 
    blade                                                8           2520 USD        20160 USD               
    generator                                            8           2850 USD        22800 USD               
    Yaw shaft                                            8           2800 USD        22400 USD               
                                                                                                             
    Dumping Load                                         7           2130 USD        14910 USD               
     Off grid Rectifier / Dumping Controller             11          2655 USD        29205 USD               
     Siemens PLC Controller                              9           5240 USD        47160 USD               
     Off grid Inverter (Single-phase)                    18          1560 USD        28080 USD               
                                                         14          3420 USD        47880 USD               
     Guyed tower(12m)
                                                                                                             
     Free Standing Tower(12m)                            9           2755 USD        24795 USD
                                                                                                             
     with Guyed Tower                                   10           1580 USD        15800 USD               
     with Free Standing Tower                           11           1710 USD        18810 USD               
                                                                                                             
    Total:  Payment for building materials/equipment acc contr11/15 dd                                       
                                                                                        292 000 USD
    02.02.15                                                                                                 
                                                                                                             
        Beneficiaryname:TASKOMANAGEMENTLTD
        BeneficiaryRegNo:114,298
        Beneficiary’saddress:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize
        Beneficiary’saccount:LV91LAPB0000056056113
        Beneficiary’sBank:ASLATVIJASPASTABANKA
        Beneficiary’sBank'saddress::Brivibasstr.54,Riga,LVͲ1011,Latvia
        Beneficiary’sbankSWIFT:LAPBLV2X                         
        
        Correspondencebank:BankofGeorgia
        Correspondencebankaddress:Tbilisi,Georgia
        Correspondenceaccount:GE98BG0000000881562400
        CorrespondenceSWIFT:BAGAGE22




00082021                                                                                                Ghanem_00000241
                                               Ghanem_Sentencing_00001303
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 5 of 68 Page ID #:6724




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT        850

                                               DATE                                IDEN.

                                               DATE                                EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                           Ghanem_Sentencing_00001304
    Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 6 of 68 Page ID #:6725


   From:                          Rami Ghanem <ramithe@gmail.com>
   Sent:                          Tuesday, May 5, 2015 3:32 PM
   To:                            Mohd <aldaboubim@gmail.com>
   Subject:                       Invoice
   Attach:                        Inv-I asko64.pdf




   Good morning boss, please see attached 1st invoice for you to see the best way to
   transfer it ASAP, we are trying to have the money available for Surgau while he is in
   Ecuador to make arrangements for the team to move as arranged.

   Regards




   &mlWIIIJ ~- J!LBNA.                                              /ti!J'6/
   Egypt Office
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   lternational # : +37282432246
   Telephone# 00201127999552
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe@ g mail.l:Om or rami@caravaname.com
   US Tele phone: 772 675-4363                         Sk·-ype Ad<frcss: ca.-aYauamc

    The intormalion contained i"I thi$mes;aee is tor the intended aC$dressee only and m;y cor,tain confident~• ano/or p-lvite&ed Information. If you art not the lntencled acdre"5~e. thiS   messa,e w il   selt destruct so
    notify the sender; do not copy or distribute this messaie or disclose its(ontentsto anyone. Any views or cplnlons e)(pressed In this message a,e these of the ~uthor and do not necessarily repres.ent tl'ose of CME or
    of any cf its associated :ompanaes. No reliarce m1y be placed on this m~ge without wrr.ten confirmation frcm an aut horized represerutive of the company.




                          Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                               Before you speak »Listen
                                                                              Before you write »Think
                                                                               Before you spend »Earn
                                                                              Before you pray »Forgive
                                                                                   Before you hurt »Feel
                                                                                   Before you hate »Love
                                                                                    Before you quit »Try
                                                                                    Before you die »Live



00082022.pdf                                                                                                                                                                                 Ghanem 00000241
                                                                              Ghanem_Sentencing_00001305
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 7 of 68 Page ID #:6726



                                  That's Life...




                                                                    Ghanem 00000241
                           Ghanem_Sentencing_00001306
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 8 of 68 Page ID #:6727




             TASKOMANAGEMENTLTD

             Address:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize




                                                                                                                      

                     


                                                                    INVOICE#64
     Data:May5th,2015

     GatewaytoMENAforlogisticServices
     Address:43AbdulHamidSharafSt.P.O.Box950601Amman11195Jordan
     
                                                                                                             
    Description                                              Q-ty        Prise             Amount            
    *HQHUDWRUV\VWHP.:                                                                                 
    blade                                                3           2520 USD        7560 USD                
    generator                                            3           2850 USD        8550 USD                
    Yaw shaft                                            3           2800 USD        8400 USD                
                                                                                                             
    Dumping Load                                         5           2130 USD        10650 USD               
     Off grid Rectifier / Dumping Controller             8           2655 USD        21240 USD               
     Siemens PLC Controller                              7           5240 USD        36680 USD               
     Off grid Inverter (Single-phase)                    18          1560 USD        28080 USD               
                                                         6           3420 USD        20520 USD               
     Guyed tower(12m)
                                                                                                             
     Free Standing Tower(12m)                            9           2755 USD        24795 USD
                                                                                                             
     with Guyed Tower                                   10           1580 USD        15800 USD               
     with Free Standing Tower                           11           1710 USD        18810 USD               
                                                                                                             
    Total:  Payment for building materials/equipment acc contr11/15 dd                                       
                                                                                        201 085 USD
    02.02.15                                                                                                 
                                                                                                             
        Beneficiaryname:TASKOMANAGEMENTLTD
        BeneficiaryRegNo:114,298
        Beneficiary’saddress:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize
        Beneficiary’saccount:LV91LAPB0000056056113
        Beneficiary’sBank:ASLATVIJASPASTABANKA
        Beneficiary’sBank'saddress::Brivibasstr.54,Riga,LVͲ1011,Latvia
        Beneficiary’sbankSWIFT:LAPBLV2X                         
        
        Correspondencebank:BankofGeorgia
        Correspondencebankaddress:Tbilisi,Georgia
        Correspondenceaccount:GE98BG0000000881562400
        CorrespondenceSWIFT:BAGAGE22




00082024                                                                                                Ghanem_00000241
                                               Ghanem_Sentencing_00001307
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 9 of 68 Page ID #:6728




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            851

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                           Ghanem_Sentencing_00001308
    Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 10 of 68 Page ID #:6729


   From:                               Rami Ghanem <ramithe@gmail.com>
   Sent:                               Tuesday, May 5, 2015 4:40 PM
   To:                                 Mohd <aldaboubim@gmail.com>
   Subject:                            2nd & 3rd Invoices
   Attach:                             Inv-Tasko 65.pdf; Inv-Tasko 66.pdf




   As soon as you send the 1st invoice please try to release the attached invoices before
   this weekend.

   Thanks




   Egypt Office
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   lternational #: +37282432246
   Telephone# 00201127999552
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe@gma il.com or rami~caravaname.com
   US Telephone: 772 675-4363 SL.-ype Address: f.l!r~x.;i~~~

    ThP lnform:.1inn a~nt::.lnPtt S'I thl<. mPt.c.:ritP I<. fnr th.- ifltPnnl"tl ::u'irlrP"-t.PP nr1ly ::.nl1 m:..y ml'luln rnnfldPntUII :.nt!,/nr rrrlvlt~,!.M l11fnrm.:1tlnn If ynu ::.,,. nnt th,,. lnt.onN'tf ~rrtrP<.U"P. rhk ~<.<..::iy wll <.Plf l'f,.«rurt ~
    notify the sender; do not copy or dlstrlbU"te this me-$$aJe or disclose lu contents to arrvone. Any views or opinions e,cpressed In this me-$$a&e a,e those of the cuthor and do not nects$arily represt:nt tt-ose of CME or
    or any er Its associated :ompanles. No renarce may be placed on ct11s mesS1ge wlttlout wrlnen conflrmauon rrcm an authOrlZed represerutlve or cbe company.




                              Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                                              Before you speak »Listen
                                                                                              Before you write »Think
                                                                                               Before you spend >> Earn
                                                                                              Before you pray »Forgive
                                                                                                Before you hurt »Feel
                                                                                                Before you hate >>Love
                                                                                                 Before you quit »Try
                                                                                                 Before you die »Live




00082014.pdf                                                                                                                                                                                                                      Ghanem 00000241
                                                                                             Ghanem_Sentencing_00001309
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 11 of 68 Page ID #:6730


                                  That's Life ...




                                                                    Ghanem 00000241
                            Ghanem_Sentencing_00001310
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 12 of 68 Page ID #:6731




              TASKOMANAGEMENTLTD

              Address:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize




                                                                                                                       

                      


                                                                     INVOICE#65
      Data:May5th,2015

      GatewaytoMENAforlogisticServices
      Address:43AbdulHamidSharafSt.P.O.Box950601Amman11195Jordan
      
                                                                                                              
     Description                                              Q-ty        Prise             Amount            
     *HQHUDWRUV\VWHP.:                                                                                 
     blade                                                8           2520 USD        20160 USD               
     generator                                            8           2850 USD        22800 USD               
     Yaw shaft                                            8           2800 USD        22400 USD               
                                                                                                              
     Dumping Load                                         13          2130 USD        27690 USD               
     Off grid Rectifier / Dumping Controller              11          2655 USD        29205 USD               
     Siemens PLC Controller                               9           5240 USD        47160 USD               
     Off grid Inverter (Single-phase)                     19          1560 USD        29640 USD               
                                                          14          3420 USD        47880 USD               
     Guyed tower(12m)
                                                                                                              
     Free Standing Tower(12m)                             9           2755 USD        24795 USD
                                                                                                              
     with Guyed Tower                                    10           1580 USD        15800 USD               
     with Free Standing Tower                            11           1710 USD        18810 USD               
                                                                                                              
     Total:  Payment for building materials/equipment acc contr11/15 dd                                       
                                                                                         306 340 USD
     02.02.15                                                                                                 
                                                                                                              
         Beneficiaryname:TASKOMANAGEMENTLTD
         BeneficiaryRegNo:114,298
         Beneficiary’saddress:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize
         Beneficiary’saccount:LV91LAPB0000056056113
         Beneficiary’sBank:ASLATVIJASPASTABANKA
         Beneficiary’sBank'saddress::Brivibasstr.54,Riga,LVͲ1011,Latvia
         Beneficiary’sbankSWIFT:LAPBLV2X                         
         
         Correspondencebank:BankofGeorgia
         Correspondencebankaddress:Tbilisi,Georgia
         Correspondenceaccount:GE98BG0000000881562400
         CorrespondenceSWIFT:BAGAGE22




00082016                                                                                                 Ghanem_00000241
                                               Ghanem_Sentencing_00001311
 Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 13 of 68 Page ID #:6732




        TASKOMANAGEMENTLTD

        Address:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize




                                                                                                                  

                


                                                               INVOICE#66
 Data:May5th,2015

 GatewaytoMENAforlogisticServices
 Address:43AbdulHamidSharafSt.P.O.Box950601Amman11195Jordan
 
                                                                                                        
Description                                             Q-ty        Prise             Amount            
*HQHUDWRUV\VWHP.:                                                                                
blade                                               8           2520 USD        20160 USD               
generator                                           8           2850 USD        22800 USD               
Yaw shaft                                           8           2800 USD        22400 USD               
                                                                                                        
Dumping Load                                        7           2130 USD        14910 USD               
Off grid Rectifier / Dumping Controller             11          2655 USD        29205 USD               
Siemens PLC Controller                              9           5240 USD        47160 USD               
Off grid Inverter (Single-phase)                    18          1560 USD        28080 USD               
                                                    14          3420 USD        47880 USD               
Guyed tower(12m)
                                                                                                        
Free Standing Tower(12m)                            9           2755 USD        24795 USD
                                                                                                        
with Guyed Tower                                   10           1580 USD        15800 USD               
with Free Standing Tower                           11           1710 USD        18810 USD               
                                                                                                        
Total:  Payment for building materials/equipment acc contr11/15 dd                                      
                                                                                   292 000 USD
02.02.15                                                                                                
                                                                                                        
   Beneficiaryname:TASKOMANAGEMENTLTD
   BeneficiaryRegNo:114,298
   Beneficiary’saddress:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize
   Beneficiary’saccount:LV91LAPB0000056056113
   Beneficiary’sBank:ASLATVIJASPASTABANKA
   Beneficiary’sBank'saddress::Brivibasstr.54,Riga,LVͲ1011,Latvia
   Beneficiary’sbankSWIFT:LAPBLV2X                         
   
   Correspondencebank:BankofGeorgia
   Correspondencebankaddress:Tbilisi,Georgia
   Correspondenceaccount:GE98BG0000000881562400
   CorrespondenceSWIFT:BAGAGE22




  00082017                                                                                                     Ghanem_00000241
                                                 Ghanem_Sentencing_00001312
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 14 of 68 Page ID #:6733




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT             852

                                               DATE                                  IDEN.

                                               DATE                                  EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001313
    Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 15 of 68 Page ID #:6734

   From:            Rami Ghanem <ramithe@gmail.com>
   Sent:            Wednesday, May 6, 2015 8:35 AM
   To:              Alexei Alexei <office.hartford@gmail.com>
   Subject:         FW:




   From: Mohd [mailto:aldaboubim@gmail.com]
   Sent: Wednesday, May 6, 2015 4:59 PM
   To: Rami Ghanem
   Subject: Fwd:




   Sent from my iPhone   IE!
   Begin forwarded message:

        From: Amjad Attiyat <Amjad.Attiyat @investbank.jo>
        Date: May 6, 2015 at 16:49:13 GMT+3
        To: "Mohd <aldaboubim@gmail.com>" <aldaboubim@gmail.com>
        Subject: Fwd:

         Upon your request

         Best Regards,
         Amjad

         sent from my iPhone

         Begin forwarded message:

               From: Muna Asfour <Muna ..Asfou_r@investbank.jo>
               Date: May 6, 2015 at 16:48:04 GMT+3
               To: Amjad Attiyat <Amjad.Attiyat@investbank.jo>

               STANDARD CHARTERED BANK
               NEW YORK,NY 10036
               NEWYORK,NY
               us
               UNITED STATES
               Block 4:
               20: Sender's Reference
                  001FTOU251260021
               23B: Bank Operation Code
                  CRED
               32A: Val Dte/Curr/lnterbnk Settld Amt
                  Date       : 07 May 2015
                  Currency      : USO (US DOLLAR)
                  Amount                  #201085,#
               338: Currency/Instructed Amount




00081954.pdf                                                              Ghanem 00000241
                                             Ghanem_Sentencing_00001314
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 16 of 68 Page ID #:6735

         Currency       : USD (US DOLLAR)
         Amount                   lf201085,#
       SOK: Ordering Customer-Name & Address
         / J019J IF 60010033000021662220001
         GATEWAY TO MENA FOR LOGISTIC
         SERVICES
         BLDG.N0.25,ABDOUN
         P.O.BOX 830589 AMMAN 11183 JORDAN
       56A: Intermediary Institution - Fl BIC
         BAGAGE22
         BANK OF GEORGIA


          TBILISI GE
       57 A: Account With Institution - Fl BIC
          /GE98BG0000000881562400
          LAPBLV2XXXX
          LATVIJAS PASTA BANKA

           RIGA LV
       59: Beneficiary customer-Name & Addr
          /LV91LAPB0000056056113
          TASKO MANAGEMENTLTD
          SUITE 102,GROUND FLOOR,BLAKE
          BUILDING,CORNER EYRE AND HUTSON
          STRRETS BELIZE CITY,BELIZE
       70: Remittance Information
          0604
         SETILEMENT OF INVOICE N0.64
          DTD 05/05/2015
       71A: Details of Charges
         SHA
       71F: Sender's Charges
         Currency     : USD (US DOLLAR)
          Amount                              #0,#

       MUNA ASFOUR
       CENTRAL OPERATIONS UNIT
                                                                                  P.0.Box 950601, Amman, 11195
                                                                                  Tel: +9626 566 5145 Fax: +9626 569 2471
                                                                                  MUNAASFOUR@INVESTBANK.(O



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                                                  Ghanem_Sentencing_00001315
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 17 of 68 Page ID #:6736




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT             853

                                               DATE                                  IDEN.

                                               DATE                                  EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001316
    Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 18 of 68 Page ID #:6737

   From:            Rami Ghanem <ramithe@gmail.com>
   Sent:            Wednesday, May 6, 2015 8:34 AM
   To:              Alexei Alexei <office.hartford@gmail.com>
   Subject:         FW:




   From: Mohd [mailto:aldaboubim@gmail.com]
   Sent: Wednesday, May 6, 2015 4:58 PM
   To: Rami Ghanem
   Subject: Fwd:




   Sent from my iPhone   IE!
   Begin forwarded message:

        From: Amjad Attiyat <Amjad.Attiyat @investbank.jo>
        Date: May 6, 2015 at 16:49:43 GMT+3
        To: "Mohd <aldaboubim@gmail.com>" <aldaboubim@gmail.com>
        Subject: Fwd:

         Upon your request

         Best Regards,
         Amjad

         sent from my iPhone

         Begin forwarded message:

               From: Muna Asfour <Muna ..Asfou_r@investbank.jo>
               Date: May 6, 2015 at 16:48:33 GMT+3
               To: Amjad Attiyat <Amjad.Attiyat@investbank.jo>

               STANDARD CHARTERED BANK
               NEW YORK,NY 10036
               NEW YORK,NY
               us
               UNITED STATES
               Block 4:
               20: Sender's Reference
                  001FTOU251260024
               23B: Bank Operation Code
                  CRED
               32A: Val Dte/Curr/lnterbnk Settld Amt
                  Date       : 07 May 2015
                  Currency      : USO (US DOLLAR)
                  Amount                  lt306340,#
               338: Currency/Instructed Amount




00081956.pdf                                                              Ghanem 00000241
                                             Ghanem_Sentencing_00001317
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 19 of 68 Page ID #:6738

         Currency       : USD (US DOLLAR)
         Amount                   11306340,#
       SOK: Ordering Customer-Name & Address
         / J019J IF 60010033000021662220001
         GATEWAY TO MENA FOR LOGISTIC
         SERVICES
         BLDG.N0.25,ABDOUN
         P.O.BOX 830589 AMMAN 11183 JORDAN
       56A: Intermediary Institution - Fl BIC
         BAGAGE22XXX
         BANK OF GEORGIA


          TBILISI GE
       57 A: Account With Institution - Fl BIC
          /GE98BG0000000881562400
          LAPBLV2XXXX
          LATVIJAS PASTA BANKA

          RIGA LV
       59: Beneficiary customer-Name & Addr
          /LV91LAPB0000056056113
          TASKO MANAGEMENTLTD
         SUITE 102,GROUND FLOOR,BLAKE
          BUILDING,CORNER EYRE AND HUTSON
         STREETS,BELIZE CITY,BELIZE
       70: Remittance Information
          0604
         SETILEMENT OF INVOICE NO.GS
         DTD 5/5/2015
       71A: Details of Charges
         SHA
       71F: Sender's Charges
         Currency     : USD (US DOLLAR)
          Amount                              #0,#

       MUNA ASFOUR
       CENTRAL OPERATIONS UNIT
                                                                                  P.0.Box 950601, Amman, 11195
                                                                                  Tel: +9626 566 5145 Fax: +9626 569 2471
                                                                                  MUNAASFOUR@INVESTBANK.(O



         www.investbank.io
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                                                  Ghanem_Sentencing_00001318
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 20 of 68 Page ID #:6739




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT         854

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001319
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 21 of 68 Page ID #:6740

   From:             Mohd <aldaboubim@gmail.com>
   Sent:             Wednesday, May 6, 2015 6:58 AM
   To:               Rami Ghanem <ramithe@gmail.com>
   Subject:          Fwd:




   Sent from my iPhone      fi
   Begin forwarded message:

        From: Amjad Attiyat <Amjad.Attiyat~ investbank.jo>
        Date: May 6, 2015 at 16:50:04 GMT+3
        To: ''Mohd <..aldaboubim@gmail. com> " <aldaboubim(tz)gmail.com>
        Subject: Fwd:

        Upon y our request

        Best Regards,
        Amjad

        Sent from my iPhone

        Begin forwarded message:

               From: Mw1a Asfour < Ml;lna.Asfour~ s tbank.jo>
               Date: May 6, 2015 at 16:49:06 GMT+3
               To: An~ad Attiyat < Amjad.Attivat<@inve!?tbank. jo>

               STANDARD CHARTERED BANK
               NEW YORK,NY 10036
               NEWYORK,NY
               us
               UNITED STATES
               Block 4:
               20: Sender's Reference
                 001FTOU2!>1260027
               238: Bank Operation Code
                    CRED
               32A: Val Dt e/Curr/lnterbnk Settld Amt
                 Date        : 07 May 2015
                 Currency       : USO (US DOLLAR)
                 Amount                   11292000,#
               338: Currency/Instructed Amount
                 Currency       : USO (US DOLLAR)
                 Amount                   11292000,#
               SOK: Ordering Customer- Name & Address
                 / J019J IFB0010033000021662220001
                 GATEWAY TO MENA FOR LOGISTIC
                 SERVICES
                 BLDG .N0.25,ABDOUN
                 P.O.BOX 830589 AMMAN 11183 JORDAN
               56A: Intermediary Institution - Fl BIC




00081978.pdf                                                               Ghanem 00000241
                                          Ghanem_Sentencing_00001320
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 22 of 68 Page ID #:6741

          BAGAGE22XXX
          BANK OF GEORGIA

         TBILISI GE
       57A: Account With Institution - Fl BIC
         /GE98BG0000000881562400
         LAPBLV2XXXX
         LATVIJAS PASTA BANKA

          RIGA LV
       59: Beneficiary Customer-Name & Addr
         /LV91LAPB0000056056113
         TASKO MANAGEMENT LTD
         SUITE 102,GROUND FLOOR,BLAKE BLDG.,
          CORNER EYRE AND HUSTON
         STREETS,BELIZE CITY BELIZE
       70: Remittance Information
          0604
          SETILE.OF INVOICE N0.66
         DTD 5/5/2015
       71A: Details of Charges
         SHA
       71F: Sender's Charges
         Currency      : USD (US DOLLAR)
         Amount                    #0,#

       MUNA ASFOUR
       CENTRAL OPERA TTONS UNIT
                                                                               P.O.Box 950601, Amman, 11195
                                                                               Tel: +9626 566 5145 Fax: +9626 569 2471
                                                                                MU~ AASFOUR@INVEST!)ANK.JQ



         wvi,w.investbank.j.Q
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                                                                                                                                       Ghanem 00000241
                                                 Ghanem_Sentencing_00001321
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 23 of 68 Page ID #:6742




                                               CASE NO.   CR 15-0704 (A)-SJO
                                                     UNITED STATES OF AMERICA
                                                VS.     GHANEM

                                               PLAINTIFF=S EXHIBIT          855

                                               DATE                               IDEN.

                                               DATE                               EVID.

                                               BY
                                                             DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001322
        Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 24 of 68 Page ID #:6743
  )URP        5DPL*KDQHPUDPLWKH#JPDLOFRP!
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  $WWDFK      .$=$5SGI,QY7DVNRGRF



*RRGPRUQLQJERVV

7KHDWWDFKHGLQYRLFHDUHIRUWKHXQGHOLYHUHGODVWPRQH\WUDQVIHUWKHQHZ/VDODU\IRUWKPRQWK

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&Ăǆ͗ϵϲϮϲϱϲϴϱϲϮϱ
ƌĂŵŝƚŚĞΛŐŵĂŝů͘ĐŽŵŽƌƌĂŵŝΛĐĂƌĂǀĂŶĂŵĞ͘ĐŽŵ
h^dĞůĞƉŚŽŶĞ͗ϳϳϮϲϳϱͲϰϯϲϯ^ŬǇƉĞĚĚƌĞƐƐ͗ĐĂƌĂǀĂŶĂŵĞ


      dŚĞŝŶĨŽƌŵĂƚŝŽŶĐŽŶƚĂŝŶĞĚŝŶƚŚŝƐŵĞƐƐĂŐĞŝƐĨŽƌƚŚĞŝŶƚĞŶĚĞĚĂĚĚƌĞƐƐĞĞŽŶůǇĂŶĚŵĂǇĐŽŶƚĂŝŶĐŽŶĨŝĚĞŶƚŝĂůĂŶĚͬŽƌƉƌŝǀŝůĞŐĞĚŝŶĨŽƌŵĂƚŝŽŶ͘/ĨǇŽƵĂƌĞŶŽƚƚŚĞŝŶƚĞŶĚĞĚĂĚĚƌĞƐƐĞĞ͕ƚŚŝƐŵĞƐƐĂŐĞǁŝůůƐĞůĨĚĞƐƚƌƵĐƚƐŽŶŽƚŝĨǇƚŚĞƐĞŶĚĞƌ͖ĚŽŶŽƚ
      ĐŽƉǇŽƌĚŝƐƚƌŝďƵƚĞƚŚŝƐŵĞƐƐĂŐĞŽƌĚŝƐĐůŽƐĞŝƚƐĐŽŶƚĞŶƚƐƚŽĂŶǇŽŶĞ͘ŶǇǀŝĞǁƐŽƌŽƉŝŶŝŽŶƐĞǆƉƌĞƐƐĞĚŝŶƚŚŝƐŵĞƐƐĂŐĞĂƌĞƚŚŽƐĞŽĨƚŚĞĂƵƚŚŽƌĂŶĚĚŽŶŽƚŶĞĐĞƐƐĂƌŝůǇƌĞƉƌĞƐĞŶƚƚŚŽƐĞŽĨDŽƌŽĨĂŶǇŽĨŝƚƐĂƐƐŽĐŝĂƚĞĚĐŽŵƉĂŶŝĞƐ͘EŽƌĞůŝĂŶĐĞ
      ŵĂǇďĞƉůĂĐĞĚŽŶƚŚŝƐŵĞƐƐĂŐĞǁŝƚŚŽƵƚǁƌŝƚƚĞŶĐŽŶĨŝƌŵĂƚŝŽŶĨƌŽŵĂŶĂƵƚŚŽƌŝǌĞĚƌĞƉƌĞƐĞŶƚĂƚŝǀĞŽĨƚŚĞĐŽŵƉĂŶǇ͘




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                                                                                          Ghanem_Sentencing_00001323
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 25 of 68 Page ID #:6744




              KAZAR BlJSINESS LIMITED
                    9 BARRACK ROAD, BELIZE CITY, BELIZE


              COMMERCIAL INVOICE
              COMMERCIAL Invoice:         07051
              DATE:                       MAY 27n12015

              BUYER:

              GATEWAY TO MENA FOR LOGISTIC SERVICES
               Amman - Jordan




               ITEM             DESCRll>'fCONS OF      QUANTITY         UNIT PRICE         TOTAL AMOUNT

              1.                Control and            2 sets           S 50,000.00        $100,000.00
                                navigation
                                Equipement rack
                                UnitbY
                                Unit KP
                                Unit3.6
                                UnitEBK
                                Including installation
                                at customers site
              PACKJl'iG      ORIGIN               OELTVERY      VALUE          PAYMEJ',T
                                                                                              $ Hlll,llllll.00
              NIA               Ukraine                C&F              NIA                Bank Transfer




               llNITED STATE DOLLARS ONE HUNDRED THOllSANDS DOLLARS 00 CENT ONLY**
              SELLER'S BAN KING DETAILS
              Bank Name:    TRASTA KOMERC BANK.A
              Bank Address: RIGA, LATVIA
              AccountName: KAZAR BUSINESS LIMITED
              Swift Code:   KBRBLV2XXXX
              IBAN&ABA:     LVlG KBRB 1111217249001




              Sing&Stamp




                                                                                             *KDQHP
                                      Ghanem_Sentencing_00001324
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 26 of 68 Page ID #:6745


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             ĚĚƌĞƐƐ͗^ƵŝƚĞϭϬϮ͕'ƌŽƵŶĚ&ůŽŽƌ͕ůĂŬĞƵŝůĚŝŶŐ͕ŽƌŶĞƌǇƌĞΘ,ƵƚƐŽŶ^ƚƌĞĞƚƐ͕ĞůŝǌĞŝƚǇ͕ĞůŝǌĞ


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      ĂƚĂ͗:ƵŶĞϭƚŚ͕ϮϬϭϱ

      'ĂƚĞǁĂǇƚŽDEĨŽƌůŽŐŝƐƚŝĐ^ĞƌǀŝĐĞƐ
      ĚĚƌĞƐƐ͗ϰϯďĚƵů,ĂŵŝĚ^ŚĂƌĂĨ^ƚ͘W͘K͘ŽǆϵϱϬϲϬϭŵŵĂŶϭϭϭϵϱ:ŽƌĚĂŶ


     'HVFULSWLRQ                                                                4W\             3ULVH                      $PRXQW
     *HQHUDWRUV\VWHP.:
     EODGH                                                                              86'                 86'
     JHQHUDWRU                                                                          86'                 86'
     <DZVKDIW                                                                          86'                 86'

     'XPSLQJ/RDG                                                                       86'                 86'
     2IIJULG5HFWLILHU'XPSLQJ&RQWUROOHU                                           86'                 86'
     6LHPHQV3/&&RQWUROOHU                                                            86'                 86'
     2IIJULG,QYHUWHU 6LQJOHSKDVH                                                  86'                 86'
     *X\HGWRZHU P                                                                    86'                 86'
     )UHH6WDQGLQJ7RZHU P                                                          86'                 86'
     ZLWK*X\HG7RZHU                                                                  86'                 86'
     ZLWK)UHH6WDQGLQJ7RZHU                                                         86'                 86'

     7RWDO3D\PHQWIRUEXLOGLQJPDWHULDOVHTXLSPHQWDFFFRQWUGG
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         ĞŶĞĨŝĐŝĂƌǇŶĂŵĞ͗d^<KDE'DEd>d
         ĞŶĞĨŝĐŝĂƌǇZĞŐEŽ͗ϭϭϰ͕Ϯϵϴ
         ĞŶĞĨŝĐŝĂƌǇ͛ƐĂĚĚƌĞƐƐ͗^ƵŝƚĞϭϬϮ͕'ƌŽƵŶĚ&ůŽŽƌ͕ůĂŬĞƵŝůĚŝŶŐ͕ŽƌŶĞƌǇƌĞΘ,ƵƚƐŽŶ^ƚƌĞĞƚƐ͕ĞůŝǌĞŝƚǇ͕ĞůŝǌĞ
         ĞŶĞĨŝĐŝĂƌǇ͛ƐĂĐĐŽƵŶƚ͗>sϵϭ>WϬϬϬϬϬϱϲϬϱϲϭϭϯ
         ĞŶĞĨŝĐŝĂƌǇ͛ƐĂŶŬ͗^>ds/:^W^dE<
         ĞŶĞĨŝĐŝĂƌǇ͛ƐĂŶŬΖƐĂĚĚƌĞƐƐ͗͗ƌŝǀŝďĂƐƐƚƌ͘ϱϰ͕ZŝŐĂ͕>sͲϭϬϭϭ͕>ĂƚǀŝĂ
         ĞŶĞĨŝĐŝĂƌǇ͛ƐďĂŶŬ^t/&d͗>W>sϮy

         ŽƌƌĞƐƉŽŶĚĞŶĐĞďĂŶŬ͗ĂŶŬŽĨ'ĞŽƌŐŝĂ
         ŽƌƌĞƐƉŽŶĚĞŶĐĞďĂŶŬĂĚĚƌĞƐƐ͗dďŝůŝƐŝ͕'ĞŽƌŐŝĂ
         ŽƌƌĞƐƉŽŶĚĞŶĐĞĂĐĐŽƵŶƚ͗*(%*
         ŽƌƌĞƐƉŽŶĚĞŶĐĞ^t/&d͗''ϮϮ




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                                                           Ghanem_Sentencing_00001325
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 27 of 68 Page ID #:6746




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT             856

                                               DATE                                  IDEN.

                                               DATE                                  EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001326
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 28 of 68 Page ID #:6747

   F rom:      Mohd <aldaboubim@gmail.com>
   Sent:       Thursday, June 4, 2015 5:30 AM
   T o:        Rami Ghanem <ramithe@gmail.com>
   Subject:    Fwd: swift mena gate
   Attach:     Message Text; imageOOl.jpg: swift.docx ; Message Text



                                                      P.O.Box950601, Amman, 11195

                                                      Tel: +9626 5001500 Ext. 1213 Fax: +9626 5672652

                                                      Mobile : 0798858655

                                                      Alaa.hindi@investbank.io




00079353.pdf                                                                                            Ghanem-00072443
                                      Ghanem_Sentencing_00001327
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 29 of 68 Page ID #:6748




                        !f:1
   Sent from my iPhone '

   Begin forwarded message:

        F rom: Arnjad Attiyat < Amjad.Attiyat(~ investbank.jo>
        Date: June 4, 2015 at 12:14:51 GMT+3
        T o: ''Mohd <aldaboubim@gmail. com> " <aldaboubim~gmail.com>
        Subject: Fwd: swift mena gate

        Upon yow- request

        Best Regards,
        Amjad

        Sent from my iPhone

        Begin forwarded message:

               From: Alaa Hindi < Alaa.Hindi@ iny§stbank.jQ>
               Date: Jw1e 4, 2015 al 11:59: 10 GMT+3
               To: Amjad Attiyal < Amj<:).d.Att!y~ investbank. jo>
               S ubject: swift mena gate

               Amjad

               Alaa AL-Hindi
               Assistant Relationship Manager
               Commercial Financial Services




00079354.pdf                                                            Ghanem-00072443
                                           Ghanem_Sentencing_00001328
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 30 of 68 Page ID #:6749




00079355.pdf                                                            Ghanem-00072443
                               Ghanem_Sentencing_00001329
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 31 of 68 Page ID #:6750




           STANDARD CHARTERED BANK
           NEW YORK,NY 10036
           NEWYORK,NY
               us
               UNITED STATES OF AMERICA
               20: Sender's Reference
                    001FTOU251540031
           238: Bank Operation Code
             CRED
           32A: Val Dte/Curr/lnterbnk Settld Amt
             Date       : 04 June 2015
             Currency      : USD (US DOLLAR)
             Amount                 #238080,#
           338: Currency/Instructed Amount
             Currency     : USO (US DOLLAR)
             Amount                #238080,#
           SOK: Ordering Customer- Name & Address
                 /J019J I FB0010033000021662220001
                 GATEWAY TO MENA FOR LOGISTIC
                 SERVICES
                 BLDG.N0.25,ABDOUN
                 AMMAN-JORDAN
           56A: Intermediary Institution· Fl BIC
             BAGAGE22
                 JSC BANK OF GEORGIA

             TBILISI GE
           57A: Account With lnstilution · Fl BIC
                 /GE98BG0000000881562400
                 LAPBLV2X
                 LATVIJAS PASTA BAN KA

              RIGA LV
           59: Beneficiary Customer-Name & Addr
                 /LV91LAPBOOOOOS6056113
                 TASKO MANAGEMENT LTD
                 SUITE 102,GROUND FLOOR,BLAKE
                    BLD,CORNER EYRE AND HUTSON ST,
                    BELIZE CITY
           70: Remittance Information
             0101
             SETILEMENT OF INV.N0.011
             DTD 1/6/2015
           71A: Details of Charges
             SHA
           71F: Sender's Charges
             Currency      : USO (US DOLLAR)
             Amount                    #0,#




00079356.pdf                                                            Ghanem-00072443
                                          Ghanem_Sentencing_00001330
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 32 of 68 Page ID #:6751




       STANDARD CHARTERED BANK
       NEW YORK,NY 10036
       NEWYORK,NY
       us
       UNITED STATES OF AMERICA

       20: Sender's Reference
         001FTOU251540032
       238: Bank Operation Code
         CRED
       32A: Val Dte/Curr/lnterbnk Settld Amt
         Date       : 04 June 2015
         Currency      : USD {US DOLLAR)
         Amount                 #100000,#
       338: Currency/Instructed Amount
         Currency     : USD {US DOLLAR)
         Amount                 #100000,#
       SOK: Ordering Customer-Name & Address
         /J019J I FB0010033000021662220001
            GATEWAY TO MENA FOR LOGISTIC
            SERVICES
            BLDG.N0.25,ABDOUN
         P.O.BOX 950601 AMMAN 11195 JORDAN
       56A: Intermediary Institution - Fl BIC
            BKTRUS33
            DEUTSCHE BANK TRUST COMPANY AMERICAS

         NEW YORK,NY US
       57A: Account With Institution - Fl BIC
         KBRBLV2XXXX
         TRASTA KOMERCBANKA

          RIGA LV
       59: Beneficiary Customer- Name & Addr
         /LV16KBRB1111217249001
         KAZAR BUSINESS LIMITED
         9 BARRACK ROAD,BELIZE CITY
            BELIZE
       70: Remittance Information
            0101
            SETILEMENT OF COMMERCIAL INV.NO.
         07051 DTO 27/5/2015
       71A: Details of Charges
         SHA
       71F: Sender's Charges
            Currency   : USO {US DOLLAR)
            Amount                  #0,#




                                                                     Ghanem-00072443
                                     Ghanem_Sentencing_00001331
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 33 of 68 Page ID #:6752




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT         857

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001332
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 34 of 68 Page ID #:6753


   From:       Rami Ghanem <ramithe@gmail.com>
   Sent:       Thursday, June 4, 2015 9:36 PM
   To:         gorlus <gorlus@mail. ru>
   Subject:    RE:




   STANDARD CHARTERED BANK
   NEWYORK,NY 10036
   NEWYORK,NY
   us
   UNITED STATES OF AMERICA

   20: Sender's Reference
      001FTOU251540032
   23B: Bank Operation Code
      CRED
   32A: Val Dte/Curr/Interbnk Settld Amt
      Date       : 04 June 2015
      Currency      : USD (US DOLLAR)
      Amount                  #100000,#
   33B: Currency/Instructed Amount
      Currency      : USD (US DOLLAR)
      Amount                  #100000,#
   SOK: Ordering Customer-Name & Address
      /JO 19IlFBOO 10033000021662220001
      GATEWAY TO MENA FOR LOGISTIC
      SERVICES
      BLDG.N0.25,ABDOUN
      P.O.BOX 950601 AMMAN 11195 JORDAN
   56A: Intermediary Institution - FI BIC
      BKTRUS33

00079283.pdf                                                            Ghanem-00072443
                                    Ghanem_Sentencing_00001333
 Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 35 of 68 Page ID #:6754


     DEUTSCHE BANK TRUST COMPANY AMERICAS

  NEW YORK,NY US
57A: Account With Institution - FI BIC
  KBRBLV2XXXX
  TRASTA KOMERCBANKA

   RIGA LV
59: Beneficiary Customer-Name & Addr
   /LV-16KBRB1111217249001
   KAZAR BUSINESS LIMITED
   9 BARRACK ROAD,BELIZE CITY
   BELIZE
70: Remittance Information
   0101
   SETTLEMENT OF COMMERCIAL INV.NO.
   07051 DTD 27/5/2015
71A: Detai]s of Charges
   SHA
71F: Sender's Charges
   Currency      : USD (US DOLLAR)
   Amount                   #0,#



&6.w•/1 ~" l!LBNA.               /BnI/
Egypt Office
Complex 133, Building 7, Apartment 32
Al Rehab City, Cairo Egypt
lternational #: +37282432246
Telephone# 00201127999552
Jordan Office




                                                                      Ghanem-00072443
                                        Ghanem_Sentencing_00001334
 Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 36 of 68 Page ID #:6755

Tel: 962 6 5685624
Fax: 962 6 5685625
r~~_i~t!~@.grr!_~_il_._~~m. or               r.a._rr,_i_@_c_a.r.a..v.~~a..n.:i.~. .C:9.11'.l.
US Telephone: 772 675-4363                          Skype Address: ~-~!.!!.'!'!!.i:!~~~

  The 1ntormauon contained In this mes;.age Is for the 1mended addressee only and mey comarn cont1denu,1 ano/or J,YMlege<f Information. ff you are not che Intended acdres.see, tilts mess.ate wll self destruct so
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 of any cf its associated :ompanies. No reliarce may be ptaced on this mess.ige without wriaen confirmation frcm an authorized rep·esertatlve of the company.




                       Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                                 Before you speak »Listen
                                                                                 Before you write >>Think
                                                                                  Before you spend >> Earn
                                                                                 Before you pray »Forgive
                                                                                   Before you hurt »Feel
                                                                                   Before you hate »Love
                                                                                    Before you quit »Try
                                                                                    Before you die »Live

                                                                                                That's Life ...




                                                                                                                                                                                        Ghanem-00072443
                                                                                 Ghanem_Sentencing_00001335
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 37 of 68 Page ID #:6756




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT         858

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001336
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 38 of 68 Page ID #:6757


   From:           Alexei Alexei <office.hartford@gmail.com>
   Sent:           Wednesday, August 26, 2015 6:16 Alvf
   To:             Rami Ghanem < ramithe@gmail.com>
   Subject:        Fwd: invoice
   Attach:         Inv -lrew-Gateway.xls



   Good afternoon
   Please see attached invoice for L-39




00075995.pdf                                                            Ghanem-00072443
                                          Ghanem_Sentencing_00001337
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 39 of 68 Page ID #:6758




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        1R6/

                     COMMERCIAL INVOICE                                                  Invoice No.:                        49/15
                                                                                         Invoice Date:                     8/21/2015
        Invoicing Address:                                                               Reference:
        Gateway to MENA for logistic Services
        Address: 43 Abdul Hamid Sharaf St. P.O. Box 950601
        Amman 11195 Jordan
        Terms of payment: USD
        Transfer invoice amount within 120 days to:
        Company: IREWORK TRADING LP
        Reg No: SL11876
        Company's address: SUITE 4350, MITCHELL HOUSE, 5
        MITCHELL STREET, Edinburgh, Scotland, UK, EH6 7BD
        Account in IBAN format:LV64 CBBR 1122623700010
        Beneficiary Bank: BALTIKUMS BANK AS
        Bank’s address: Smilsu Iela 6 Riga LV-1050 LATVIA
        SWIFT: CBBRLV22

                                Description                                 Q-TY            Price (USD)             Payment conditions

        Guyed tower(12m)                                                           18                    3420              61,560.00
        Siemens PLC Controller                                                     18                    5240              94,320.00
        Dumping Load                                                                 2                   2130               4,260.00




        Total (USD):                                                                                                       160,140.00
        payment for building equipment according Contract N19/12
        from 19.12.2014
                                        Discount                  VAT Amount                  Quantity                      Amount
                                                     0.00                        0.00                                      160,140.00

        ,5(:25.75$',1*/3$GG68,7(
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Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 40 of 68 Page ID #:6759




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT             859

                                               DATE                                  IDEN.

                                               DATE                                  EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001339
    Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 41 of 68 Page ID #:6760


   From:                         Rami Ghanem <ramithe@gmail.com>
   Sent:                         Saturday, August 29, 2015 4: 17 PM
   To:                           mdaboubi@hotrnail.com
   Subject:                      L39 Invoice
   Attach:                       Inv -lrew-Gateway.pdf




   B•w••IJ ~- JJ/Jl/1#· /B'TB/
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   Telephone# 00201127999552
   lternational #: +37282432246
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe~gmajl.colJI_ or rami~cara~_ggm
   US Telephone: 772 675-4363 SL·ype Address: caravaname

    The information contained .-i this message Is for the Intended addressee only and m;v coriiain confidenti.al anc/or prlvde,ied Information. If you are not the Intended acdressee, this tneS$3te wil self destruct so
    notify the sender; do not copy or distribute this message or disclose Its contents to anyone. Any views or cpl nlons expressed In this me~ge are chose of the author and do not necessarily represent ttose of CME or
    of :,ny cf I~ .;~bted :omponle$. No reliorce mly be pl.lced onthl~ m~MCC wlthovt wrt ten confirnodon frcm on ,:,uthorlzed repre~ert::atlve of the com pony.




                         Life is short .. So love your life .. Be happy .. And Keep smiling.. and


                                                                              Before you speak »Li sten
                                                                               Before you write »Think
                                                                               Before you spend »Earn
                                                                              Before you pray »Forgive
                                                                                Before you hurt »Feel
                                                                                Before you hate »Love
                                                                                 Before you quit >>Try
                                                                                 Before you die »Live

                                                                                               That's Life ...




00075836.pdf                                                                                                                                                                               Ghanem-00072443
                                                                             Ghanem_Sentencing_00001340
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 42 of 68 Page ID #:6761




                                    ~REWORK TRAD~NGLP
      IREWORK TRADING LP                              Reg
      No: SL11876

                 COMMERCIAL INVOICE                                         Invoice No.:                 49/15
                                                                           Invoice Date:               8/21/2015
      Invoicing Address:                                                    Reference:

      Gateway to MENA for logistic Services
      Address: 43 Abdul Hamid SharafSt. P.O. Box 950601
      Amman 11195Jordan
      Terms of payment: USO

      Transfer invoice amount within 120 days to:
      Compaw: !REWORK TRADING LP
      Reg No: SL11876
      Company's address: SUITE 4350, MITCHELL HOUSE, 5
      MITCHELL STREET, Edinburgh, Scotland, UK, EH6 760
      Accountin IBAN formatLV64 CBBR 1122623700010
      Beneficiary Bank: BALTIKLMS SANK AS
      Bank's address: Smilsu lela 6 Riga LV-1050 LATVIA
      SWIFT: CBBRLV22

                           Description                         Q-TY            Price (USD)         Payment conditions


      Guyed tower(12m)                                                18                    3420        61,560.00
      Sieme,s PLC Con:roller                                          18                    5240        94,320.00
      Dumping Load                                                     2                    2130         4,260.00




      Tola! (USO):                                                                                     160,140.00
      payment fo: buiding equipment according Contract N19112
      from 19.12.201 4
                           I      Discount        I       VATAmount     I        Quantitv      I         Amount
                           I                  0.0~                  0.001                              160,140.00         I

      !REWORK TRADING LP                                                                                     Add: SUITE
      4350, MITCHELL HOUSE. 5 MITCHELL STREET. Edinburgh, Scotland, UK, EH6 780

                                                       Plamen Stanev

                                                                      ~




00075837                                                                                                                      Ghanem-00072443
                                                      Ghanem_Sentencing_00001341
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 43 of 68 Page ID #:6762




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT         860

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001342
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 44 of 68 Page ID #:6763


   From:               Mohammad <aldaboubim@gmait.com>
   Sent:               Thursday, September 3, 2015 1:00 Alvf
   To:                 Rami Ghanem < ramithe@gmail.com>
   Subject:            Fwd: Swifts




   Sent from my iPhone          Ii
   Begi n forwarded message:

        F rom: Amjad Attiyat <Amjad.Attiyat{a),investbank.jo>
        Date: September 3, 2015 at 10:45:24 GMT+3
        To: "Mohd <fl]daboubim~gmail.~om> (aldaboubim@~.com)" <~ldaboubim@gmail.com>
        Subject: Swifts

        Upon your request.



        Best Regards,

        Amjad S. Attiyat
        Executive Manager - Liability/ Commercial / SME



                                                                            P.O.Box 950601, Amman, 11195
                     lNVESTB/\N I<                                          Tel: +%26 5001500 Ext.1370 Mobile: + %2            n   5855145
                     .;>JLO 'I' ,' u1¥l , ~ I .l..,!J                       Fax: +9626 5687517
                                                                            fil!llild.Attiyat@.inyestban~


         www.investbank.jQ
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        contents of this document to any other person, nor take any copies.



        From: Muna Asfour
        Sent: Thursday, September 03, 2015 10:32 AM
        To: Amjad Attiyat
        Subject:

        Block 4:
        20: Sender's Reference
           001FTOU252440003
        238: Bank Operation Code
           CRED
        32A: Val Dte/Curr/lnterbnk Settld Amt
           Date       : 02 September 2015
           Currency      : USD (US DOLLAR)
           Amount                  #160140,#
        338: Currency/Instructed Amount
           Currency      : USD (US DOLLAR)




00075623.pdf                                                                                                                                Ghanem-00072443
                                                         Ghanem_Sentencing_00001343
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 45 of 68 Page ID #:6764

     Amount               #160140,#
   SOK: Ordering Customer-Name & Address
     /J019JIFB0010033000021662220001
     GATEWAY TO MENA FOR LOGISTIC
     SERVICES COMPANY
     ABDOUN-BLDG.N0.25
     AMMAN-JORDAN
   56A: Intermediary Institution - Fl BIC
     BKTRUS33
     DEUTSCHE BANK TRUST COMPANY AMERICAS

     NEW YORK,NY US
   57A: Account With Institution - Fl BIC
     CBBRLV22XXX
     BALTIKUMS BANK AS


      RIGA LV
   59: Beneficiary Customer-Name & Addr
     /LV64CBBR1122623700010
     I REWORK TRADING LP
     SUITE 4350,MITCHELL HOUSE,5
     MITCHEL STR.EDINBURGH,SCOTLAND,UK,
      EH6 780
   70: Remittance Information
      0101
     SETTLE.OF INVOICE N0.49/15
     DATED 21/08/2015
   71A: Details of Charges
     SHA
   71F: Sender's Charges
     Currency      : USD (US DOLLAR)
     Amount                    #0,#




                                                                     Ghanem-00072443
                                       Ghanem_Sentencing_00001344
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 46 of 68 Page ID #:6765




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT             861

                                               DATE                                  IDEN.

                                               DATE                                  EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001345
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 47 of 68 Page ID #:6766


   From:       Alexei Alexei <office.hartford@gmail.com>
   Sent:       Thursday, October 15, 2015 6:28 AM
   To:         Rami Ghanem < ramithe@gmail.com>
   Subject:    Invoice Renault + L
   Attach:     Inv Irework-Gateway15.10.pdf




00074594.pdf                                                            Ghanem-00072443
                                   Ghanem_Sentencing_00001346
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 48 of 68 Page ID #:6767




                                                 IRE\VORK TRi~Olt-l-G LP          u.-.-. ........... . .......................- -.

         lREWORK TRADING LP
         No; Sl1187S



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         Addr;ii;i;; ,13 Abt!~l Ham!tj SlRlY.~J St P,O, Bo:( !'iSOO:Ol
         Ammaa 1H95 J~td~
         Tenn!l ti( ~aym~1.) t . U'SJ)
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        lRf.:WORK TRADlN(;. l.?                                                                                                                                        Adt!:   srnrr::
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Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 49 of 68 Page ID #:6768




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT         862

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001348
    Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 50 of 68 Page ID #:6769

   From:                          Rami Ghanem <ramithe@gmail.com>
   Sent:                          Sunday, November 1, 2015 1:38AM
   To:                            mohammad almufleh <mdaboubi@hotmail .com>
   Subject:                       FW : Invoice+ l 00 000
   Attach:                        Inv -lrew-Gateway27 . IO.pdf




   L39 + F




   t'idewq & MBIIA. /6n!IJ
   Egypt Office
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   lternational #: +37282432246
   Telephone# 00201127999552
   Jordan Office

   Te l: 962 6 5685624
   Fax: 962 6 5685625
   ramith~gmail.com or rami@caravaname.com
   US Telephone: 772 675-4363 Skype Address: caravaname

     The lnfcrmatbn contained in Ihis message is fer the lnten:led addressel!! o•ly an1 may contain confide,tial and/o.- prM1eaed information. If you are not the intende:f adctessee, this musaae will sel destruct so notify the se nder; do
    not copy or distribute this message or disclose i:s conte nts to anfone. Any ,.iews or op nionsexpressed In this mes;age 1.re those of the author and do not neoessarity rep~sent thost of CME orof lr'lf of rts associated compantes. No
    reliance may be placed 01 t h1sme1sige wttl\out written conflrm1tlon from in au:.horbed re,rese11tatlve of the company.




                                  Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                                       Before you speak »Listen
                                                                                        Before you write »Think
                                                                                        Before you spend »Earn
                                                                                       Before you pray »Forgive
                                                                                         Before you hurt >> Feel
                                                                                         Before you hate >>Love
                                                                                          Before you quit >>Try
                                                                                          Before you die »Live

                                                                                                         That's Life ...




00074091.pdf                                                                                                                                                                                               Ghanem-00072443
                                                                                    Ghanem_Sentencing_00001349
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 51 of 68 Page ID #:6770




           -·
          IREWORK TRADING LP
          No: SL 11876
                                         IREWORK TRAD~NG LP
                                                          Reg




          Invoicing Address:                                                      Reference:
          Gateway to MENA for logistic Services
          Address: 43 Abdul Hamid Sharaf St. P.O. Box 950601
          Amman 11195 Jordan
          Terms of payment: USD
          Transfer invoice amount within 120 days to:
          ~-QIDP.i!JJY: !REWORK TRADING LP
          Ren No: SL11876
          Company's address: SUITE 4350, MITCHELL HOUSE, 5
          MITCHELL STREET, Edinburgh, Scotland, UK, EH6 7BD
          Account in IBAN formocLV64 CBBR 1122623700010
          Beneficiarv Bank: BALTIKUMS BANK AS
          6110 k's addcim: Smilsu lela 6 Riga LV-1050 LATVIA
          SWIFT: CBBRLV22

                               Description                           Q-TY            Price (USD)       Payment conditions

          Guyed tower(12m)                                                  18                  3420        61 560,00
          Semens PLC Controller                                             18                  5240        94 320,00
          Dumping Load                                                      32                  2130        68160,00
          Dogvane                                                            2                  526          1 052,00



          Taal (USO):                                                                                      225 092,00
          payment for building equipment according Contract N19/12
          fran 19.12.2014
                                       Discount               VAT Amount               Quanti                Amount
                                                                           0.00                            225 092,00

          I REWORK TRADING LP                                                                                  Add: SUITE
          4350, MITCHELL HOUSE, 5 MITCHELL STREET, Edinburgh, Scotland, UK, EH6 78D

                                                            Plamen Stanev
                                                                              It
                                                                             •<5r-~··
                                                                                        ,.




00074092.pdf                                                                                                                Ghanem-00072443
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Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 52 of 68 Page ID #:6771




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT             863

                                               DATE                                  IDEN.

                                               DATE                                  EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001351
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 53 of 68 Page ID #:6772


   From:           AA Diamonds <aa.diamonds@hotmail.com>
   Sent:           Tuesday, September 29, 2015 12:34 AM
   To:             ramithe@gma ii .com
   Subject:        S.Muhammad
   Attach:         201509290923. pdf




   Please find attached




00074735.pdf                                                            Ghanem-00072443
                                         Ghanem_Sentencing_00001352
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 54 of 68 Page ID #:6773



           DOCKARHSCC                                                                                            I'. 0. BOX 150:l
           AVALON JUJIIJ)ING
           93 CENTUL IIO.u                           ~         i:]OCK                                            CUOWN MINES
                                                                                                                 ZOZ5
                                                                                                                 TEL: +27 (0) 11 8:18 2826
           CNU. GIUIES S'fREFf
           l'OUDSIUJII.G
           :w:i:1
                                                     ~               ocK1srsABM§                                 FA..'\'.: +%7 (0) 11 8:111648:l
                                                                                                                 E-HAIL: HOE@DOCK.utHS.COH


           28 September 2015

           TO: A A Diamonds
           ATT: Mr. M. Shaibne
           FROM: MUHAMMED I. DOCKRAT

           RE: QUOTATION

           Dear Sir

           It gives us great pleasure in quoting you as follows:

           Pistols
           Option A: 50 x GLOCK 19 / 17 threaded Gen 3@ Rl2,750.00ea (Total: R637,500.00)
           Option B: 50 x GLOCK 19 / 17 threaded Gen 4@ Rl3,850.00ea. (Total: R692,500.00)
           ASE Utra Silencers for the above@ RS, 750.00ea. (Total: R287,500.00)

           .SOBMG Rifles
           10 x CMS Sniper Rifle in 12,7x99mm@ RllS,000.00ea. (Total: Rl,150,000.00)
           Including:
           5 shot magazine, extra magazine,
           Gibbs Bipod
           M uzzle Brake
           Adjustable Cheek Piece
           Cleaning Kit (Otis)
           Plain Rifle Bag for Packaging Purposes

           Documentation: Operator Manual with every rifle
           1 x Illustrated Parts Catalogue and Exploded View

           Optional Extras:
           Silencers @ RlG,500.00ea. (Total: RlGS,000.00)
           On Board Spares (1 set per rifle) @ R2,000.00ea. (Total: R20,000.00)
           Set of Gauges (1 set per 10 rifles) @ R4,S00.00
           Canvas Drag Bag@ RS,000.00ea. (Total: RS0,000.00)
           Sling@ Rl,500.00ea. (Total: RlS,000.00)
           Aluminium Case @ R25,000.00ea. (Total: R250,000.00)
           Shooter Mat@ R2,250.0Dea. (Total: R22,SOO.OO)

           Packaging Crate (for transportation)@ R?,000.00

           Manuals:
           In English consist of Operator Manual supplied with each rifle and one Illustrated Parts Catalogue and Parts Identification list.
           (Exploded View)

           Cleaning Kit :
           Consists of: oil bottle, flannelette, brush brass, cleaning rod, set of alien keys.

           On Board Spares:
           Extractor Kit comprising of: Extractor, Extractor Pin and Extractor Spring supplied with all calibre rifles.
           Firing Pin Kit comprising of: Firing Pin and Firing Pin Spring supplied with all calibre rifles.
           Ejector Kit comprising of: Ejector, Ejector Pin and Ejector Spring to be supplied with 12, 7x99mm rifles.

           Set of Gauges for Headspaci ng:
           Only 1 set of Gauges (Go and No-go Head Space Gauges, Firing Pin Protrusion Gauge and Bore Life Gauge) will be supplied with
           the purchase of every 10 rifles.




00074736                                                                                                                  Ghanem-00072443
                                                Ghanem_Sentencing_00001353
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 55 of 68 Page ID #:6774




           DOCKAIUIS CC                                                                                       I'. O. BOX 1503
           ,WA.I.ON RUIJJ)ING
           93 CDl'UL IOAD                          ~         i:JDCK                                           CR011'NHINF.S
                                                                                                              20%5
                                                                                                              'fEL: +21 (O) 11 a:m 2&26
           CNlt. GIi.LiES S'fRlll'T
           llORUSBUltG
           20:1:1
                                                   ~              OCKISTSOABM§                                FA.'\:: +27 (0) 11 &:Ill 648:l
                                                                                                               E·HAIL: MOE@DOCKARMS.COJI



           Ammunition
           50,000 rounds of 9mm Parabellum FMJ llSgr@ RS.DOea. (Immediately available - Total: R250,000.00)
           12,7x99 (.SDBMG)@ RlOO.OOea. (12,000 pcs immediately available -Total: Rl,200,000.00)

           Terms and Conditions
           Delivery Times:
           Delivery to commence 4-6 months from receipt of :
           • Signed written order.
           •End User Certificate
           •Receipt of 50% advance payment into Sellers Bank

           Marking and Packing:
           Manufacturer's standard packing w ill apply, unless otherwise agreed beforehand at cost to the Buyer.

           General:
           The exportation of military related equipment is subject to the authorisation of contracting and export permits by the South
           African Government. Should these permits not be granted, neither party shall be u nder any obligation whatsoever to the other
           party.

           Inspection:
           The Buyer may at their own cost inspect the Goods in South Africa prior to the shipment. All costs thereof will be borne by the
           Buyer for a maximum of 2 representatives of the Buyer. The inspection may take place 30 days prior to the shipment.

           End User Certificate:
           An acceptable, original, End User Certificate, must be submitted to Truvelo Manufacturers (Pty) Ltd. after having been
           authenticated by the South African Embassy/ Consulate in Buyer's country as per requirement by the National Conventional
           Arms Control Committee of South Africa.

           The End User Certificate must state t.he final destination of the items and that t he items are intended for use by the buyer and
           must be stamped by the relevant Department.

           Import Permit:
           The BUYER will be responsible to obtain an import permit and all other authorisations required in the BUYERS country.

           Export Permit:
           Delivery of goods must be approved as described by the South African Government. Goods may not be re-exported without the
           approval of the South African Government.

           Warranty on Truvelo (Rifles) Products:
           12 months from date of delivery on fa ulty workmanship and material on the rifles.

           Warranty on Non-Truvelo Products: Canvas Products, Aluminium Cases 6 months from date of delivery.

           Terms of Payment:
           60% non-refundable advance payment by telegraphic transfer into Dockarms account. 40% Balance on acceptance documents.

           Kind Regards

           Muhammed
           082444 1133




00074736                                                                                                              Ghanem-00072443
                                               Ghanem_Sentencing_00001354
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 56 of 68 Page ID #:6775




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT        864

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001355
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 57 of 68 Page ID #:6776


   From:           AA Diamonds <aa.d iamonds@hotmail.com>
   Se nt:          Wednesday, September 30, 2015 7:46 AM
   To:             ramithe@gma ii .com
   Subject:        S.Muhammad
   Attach:         201509301644.pdf




   Please find attached




00074723.pdf                                                            Ghanem-00072443
                                         Ghanem_Sentencing_00001356
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 58 of 68 Page ID #:6777




         MI-24V   HELICOPTER
         QUANTITY: 4 UNITS (Board numbers: 125, 129, 131, 132)

         BASIC OVERHAUL TIME: 7.5 years, i.e. 1000 flight hours

         FACTORY GUARANTEE: 1 year, i.e. 120 flight hours



         OVERHAUL TIME FOR THE 4 HELICOPTERS: 3 - 6 months (CanaccelerateonceorderconfirmedJ

         ARMAMENT (included for one helicopter):
               UPK-23-250 Container for aerogun GSH23L, quantity: 2 pcs.
              ·oun GSH-23L - 2 pcs. with 250 shots for each
               Blocks, type UB32A-24 (for NURS C-5), quantity: 4 pcs.
               Machine Gun 9A624 (Yakb-12,7) calibre 12,7x108mm - I pc.
               Machine guns PKM, calbre 7,62x54mm - 2 pcs.
               Submachine Guns AK47 /short barrel/ calibre 7,62x39mm, quantity: 10 pcs.
               Pistols with silencers, calibre 9xl 9mm or 9x 18mm, quantity: IO pcs.

         New navigation equipment (included for one helicopter):
                  A night sight and options for night flying capability;
                  Black box, digital storage for flight data and for all technical parameters as well as pilots
                  and operator's at real time;
                  Aviation GPS - 2 pcs. ;
                  Instead of Karat radios, a new TSY - CN024-0 I navigation & communication module ""ill
                  be installed. This unit includes: digital portable radio set, transponder, coding unit, GPS and
                  an interface for joint work with the board conversational network, top insure the
                  communications air to air, ground to air and police channels.
                  The aviation radio station R-863 is on board to insure the military and civil channels.

         Special settings for the weather conditions for one helicopter:
                    The engines will be set to work in hot weather;
                    The filters for anti-sand/dust will be included with the helicopter.




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Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 59 of 68 Page ID #:6778




                                                                  Ghanem-00072443
                            Ghanem_Sentencing_00001358
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 60 of 68 Page ID #:6779




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                            Ghanem_Sentencing_00001359
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 61 of 68 Page ID #:6780




                                                                  Ghanem-00072443
                            Ghanem_Sentencing_00001360
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 62 of 68 Page ID #:6781




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT             865

                                               DATE                                  IDEN.

                                               DATE                                  EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001361
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 63 of 68 Page ID #:6782


   From:          Rami Ghanem <ramithe@gmail.com>
   Sent:          Friday, October 9, 2015 7:51 AM
   To:            Bill Grigor <office.gb.defence@gmail.com>
   Cc:            Alexei Alexei <office.hartford@gmail.com>
   Subject:       Fwd: Invoice
   Attach:        201510091632.pdf




   Sent from myMail app for Android




00074632.pdf                                                            Ghanem-00072443
                                      Ghanem_Sentencing_00001362
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 64 of 68 Page ID #:6783




           AA DIAMONDS (PTY) LTD.
           l{cg No. 2001/005209/07                                                  VAT No: 1(.660262033
           Tel No.: (011) 615 0554                                                  No.08 Kloof Road
           Fax No.: (011) 615 0149                                                  Bedfordview
           Email: info@aa-dimnonds.co.za                                             2007~lHB-R.S.A

                                                 AA.Metals
                                         Proforma Invoice 052
                                                I nvoicc Dale: CJ/ I 0/2015

           Company Name: Deal Logic Dox LP
           Registration No.: SL15607            Vat Number:
           Tel: ---
           Email: ---
           Address: 12 South Bridge Suite 1 ,Edinburg Scotland UK


                                          Purchase of Polished Diamond


                       Descri:gtion                       Price                  Total Price
               lX Round Brilliant Diamond              $ 42 500 Pct              $200 000.00

                  I     Carat - 4.70
                  I
                  I
                        Colour- G
                       Clarity - VSS2



                                                        Deposit of                $ 20 000.00
                                                      Total Amount              $ 200 000.00




           AA Diamonds



           Bank Name: Nedbank                                                 Bank Name: Nedbank
           Account Holder: AA Diamonds PTY LTD                                Account Number: 7710015417
           Account Number: 1924306646                                         Swift Codes: NEDZSAJJ
           Branch Name: Eastgate
           Branch code: 192/405




00074633                                                                                           Ghanem-00072443
                                        Ghanem_Sentencing_00001363
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 65 of 68 Page ID #:6784




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT             866

                                               DATE                                  IDEN.

                                               DATE                                  EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001364
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 66 of 68 Page ID #:6785


   From:       Alexei Alexei <office.hartford@gmail.com>
   Sent:       Thursday, November 5, 2015 3:16 AM
   To:         Rami Ghanem < ramithe@gmail.com>
   Subject:    Fwd: csepKa csmpT
   Attach:     0400195812-02.txt




00074021.pdf                                                            Ghanem-00072443
                                   Ghanem_Sentencing_00001365
Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 67 of 68 Page ID #:6786




    English Translation



    From: Alexei Alexei &lt;Office. hartford@gmail.
    Sent: Thursday, November 5, 2015 3:16 AM
    To: Rami Ghanem
    Subject: Fwd: Reconciliation Swift
    Attach: 0400195812-02.txt




                                         Ghanem_Sentencing_00001366
   Case 2:15-cr-00704-SJO Document 431-13 Filed 05/13/19 Page 68 of 68 Page ID #:6787




                  -------------------- Instance Type and Transmission --------------
               Notification (Transmission) of Original sent to SWIFT (ACK)
               Network Delivery Status : Network Ack
               Priority/Delivery         : Normal
               Message Input Reference : 1741151104CBBRLV22AXXX0900879419
                  -------------------------- Message Header------------------------
               Swift Input                : FIN 103.STP S ingle Customer Credt Transfer
               Sender : CBBRLV22XXX
                       BALTIKUMS BANK AS
                       RIGA LV
               Receiver : BKTRUS33XXX
                       DEUTSCHE BANK TRUST COMPANY AMERICAS
                       NEW YORK.NY US
                  -------------------------- Message Text ---------------------------
                20: Sender's Reference
                   201511041870056
               238: Bank Operation Code
                   CRED
               32A: Val Dte/Curr/lnterbnk Settld Amt
                   Date          : 05 November 2015
                   Currency         : USO (US DOLLAR)
                  Amount                        #20000,#
               338: Currency/Instructed Amount
                   Currency         : USO (US DOLLAR)
                  Amount                        #20000,#
               SOK: Ordering Customer-Name & Address
                  /LV64CBBR 1122623700010
                   IREWORK TRAD ING LP
                   SUITE 4350,MITCHELL HOUSE,5
                   MITCHELL STREET
                   EDINBURGH , EH6 7BD, SCOTLAND .GB
               57 A: Account With Institution - Fl BIC
                   NEDSZAJJXXX
                   NEDBANK LIMITED
                  JOHANNESBURG ZA
                59: Beneficiary Customer-Name & Addr
                  /7710015417
                  AA DIAMONDS PTY LTD
                   8 KLOOF ROAD BEDFORDVIEW
                  JOHANNESBURG
                  /I D/2001 /005209
                70: Remittance Information
                   PAYMENT FOR DIAMOND ACC INV 052 DD
                   09.10.15
               71 A: Details of Charges
                   OUR
                  -------------------------- Message Trailer-----------------------
               {CHK:57CFB1082CA8}




00074022.pdf                                                                              Ghanem-00072443
                                        Ghanem_Sentencing_00001367
